                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:17-CR-00182-MOC-DSC

 UNITED STATES OF AMERICA,                                  )
                                                            )
                                                            )
                                                            )
 Vs.                                                        )                 ORDER
                                                            )
 ALEXANDER SAMUEL SMITH,                                    )
                                                            )
                       Defendant.                           )


       THIS MATTER is before the Court on the government’s sealed Motion to Seal. While

that motion is itself sealed, this Order will not be sealed as the Local Rules require a public reason

for sealing in light of the Constitutional and common law right to access Court proceedings.

       For cause to seal, the government states that, like its underlying Motion (#61), the

defendant’s Response (#62) should be sealed under Sections 3 and 4 of the Classified Information

Procedures Act (“CIPA”) to protect identities of witnesses. While neither the Motion nor the

Response references real names of witnesses protected under CIPA, the Court agrees that both the

underlying Motion and the Response contain information (which is unnecessary to discuss herein)

which could be used to compromise protected identities. Further, no means less than sealing would

afford the protections extended by Congress under CIPA. Inasmuch as sealing as a method for

protecting witness identities is provided for under CIPA, the Court will direct that the Response

(and any further Response to any sealed motion) be filed under Seal.

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       Finally, in accordance with the Local Rules governing sealing, when filing a sealed

pleading without first obtaining leave of Court, the public caption of the sealed pleading should


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reflect the authority from which the unilateral sealing derived, such a “Sealed Motion for

Protective Order -- Sealed as a matter of law under CIPA.” By doing that, not only is the record

clear, the public knows the legal reason why access to that particular document is being denied.



                                          ORDER

       IT IS, THEREFORE, ORDERED that the government’s Sealed Motion to Seal (#63) is

GRANTED, and defendant’s Response (#62) is SEALED.



       The Clerk of Court is instructed to amend the public captions in pleadings 61, 62, & 63 to

reflect that such documents were sealed under CIPA.



                                            Signed: March 14, 2019




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